8:17-cr-00336-RFR-SMB               Doc # 72    Filed: 01/19/18    Page 1 of 1 - Page ID # 107




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:17CR336

        vs.
                                                                        ORDER
COLTER KEFFER,

                       Defendant.

        This matter is before the court on defendant's Motion to Extend Pretrial Motion Filing
Deadline [68]. For good cause shown, I find that the motion should be granted. The defendant
will be given an approximate 14-day extension. Pretrial motions shall be filed by February 1,
2018.
        IT IS ORDERED:
        1.     Defendant's Motion to Extend Pretrial Motion Filing Deadline [68] is granted.
Pretrial motions shall be filed on or before February 1, 2018.
        2.     The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between January 18, 2018 and February 1, 2018, shall
be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
        Dated this 19th day of January, 2018.

                                                      BY THE COURT:


                                                      s/ Susan M. Bazis
                                                      United States Magistrate Judge
